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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

    UNITED STATES OF AMERICA, and       )
    THE OSAGE MINERALS COUNCIL,         )
                                        )
                Plaintiffs,             )
                                        )
    vs.                                 )    Case No. 14-CV-704-GKF-JFJ
                                        )
    OSAGE WIND, LLC;                    )
    ENEL KANSAS, LLC; and               )
    ENEL GREEN POWER NORTH              )
    AMERICA, INC.,                      )
                                        )
                Defendants.             )

                DEFENDANTS’ RESPONSE TO PLAINTIFF THE UNITED
               STATES’ MOTION FOR SUMMARY JUDGMENT [Dkt. # 300]




                              EXHIBIT 3
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      1               IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA
      2
           UNITED STATES OF AMERICA,
      3
                       Plaintiff,
      4    and

      5    OSAGE MINERALS COUNCIL,

      6                Intervenor-Plaintiff,
           vs.                             No. 14-CV-704-GFK-JFG
      7
           OSAGE WIND, LLC; ENEL, KANSAS,
      8    LLC; and ENEL GREEN POWER
           NORTH AMERICA, INC.,
      9

     10                Defendants.

     11
                 VIDEO ZOOM DEPOSITION OF CRAIG MAZUROWSKI
     12              TAKEN ON BEHALF OF THE PLAINTIFF
                        ON JUNE 7, 2021 AT 10:03 AM
     13         REPORTER PRESENT IN OKLAHOMA CITY, OKLAHOMA
                                APPEARANCES
     14    On behalf of the PLAINTIFF:
           Stuart Ashworth
     15    Kathy McClanahan
           UNITED STATES ATTORNEY'S OFFICE
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           Tulsa, Oklahoma 74119
     17    918.382.2700
           stuart.ashworth@sol.doi.gov
     18
           On behalf of the INTERVENOR-PLAINTIFF:
     19    Mary Kathryn Nagle
           Abi Fain
     20    PIPESTEM & NAGLE, P.C.
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     21    Tulsa, Oklahoma 74103
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     22    mknagle@pipestemlaw.com

     23    (Appearances continued on the following page.)

     24    VIDEOTAPED BY:      Kaleb Pinalto

     25    REPORTED BY:       Jody Graham, CSR, RPR, RMR, CRR
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      1          A     Excess, no.

      2          Q     The last sentence there says, "Contractor

      3    shall not haul material outside of project boundaries

      4    nor use native material for any construction purposes

      5    other than noted above."

      6                I read that correctly; right?

      7          A     Yes.

      8          Q     Okay.    Was any of the material that was

      9    excavated used for construction purposes other than

     10    the construction purpose of backfill or foundational

     11    support?

     12          A     No.

     13          Q     Do you know if it was -- scratch that.

     14                As part of the collector system that was

     15    installed during the Osage Wind project, an

     16    underground cable system was installed; is that

     17    correct?

     18          A     Correct.

     19          Q     For these undergrounds cables, trenches were

     20    made; is that correct?

     21          A     Correct.

     22          Q     Was blasting used for any of the trenches?

     23          A     I don't remember.

     24          Q     Okay.    When the trenches are being

     25    excavated, what was done with the excavated materials?
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      1    conventional track excavators?

      2          A     I assume the geotech report.

      3          Q     Okay.    When it says "conventional track

      4    excavators," do you know what it's referring to?

      5          A     Yes.

      6          Q     What's it referring to?

      7          A     A regular excavator.

      8          Q     With respect to the remaining 27 turbines,

      9    what does "additional special handling of excavator

     10    rock" refer to?

     11          A     I would assume blasting and crushing.

     12          Q     Okay.    Would all rocks that are blasted also

     13    need to be crushed?

     14          A     Yes.

     15          Q     Why is that?

     16          A     So we can re-use it.

     17          Q     Okay.    When you blast the material, is it --

     18    I guess it doesn't blow it to smithereens.            It leaves

     19    large chunks of rocks; is that correct?

     20          A     Correct.

     21          Q     And that's why you need to crush it down to

     22    a smaller size?

     23          A     Correct.

     24          Q     Okay.    When you excavate using conventional

     25    track excavators, you don't -- do you need to do
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      1          Q     Is that -- in your experience in the

      2    industry, have you ever had that happen?

      3          A     Yes.

      4          Q     Okay.    Was any of the excavated materials

      5    not otherwise used and left in stockpiles on the

      6    property?

      7          A     I don't recall.

      8          Q     Okay.    Was any -- scratch that.

      9                Was any of the excavated materials used for

     10    landscaping purposes?

     11          A     I don't recall.

     12          Q     Was any of the excavated materials used for

     13    road construction purposes?

     14          A     No.

     15          Q     Was any of the excavated material

     16    distributed around the wind tower foundations and

     17    graded to establish positive drainage away from the

     18    foundation?

     19          A     No.

     20          Q     Okay.    And let me kind of backtrack.        It's

     21    my understanding that after the excavated material is

     22    used as backfill, it's redacted, they put up the wind

     23    tower.    And then at that point people can use excess

     24    material, spread it around the base and grade it in a

     25    way that allows for additional drainage away from the
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      1    foundation.     Do you recall that happening here?

      2          A     I don't recall.

      3          Q     Were wooden poles installed for transmission

      4    lines on site?

      5          A     I don't remember.      Oh, wow.     I think it's

      6    safe to assume, yes.

      7          Q     Okay.    Would you have, as project manager,

      8    overseen the installation of any wooden poles --

      9          A     Yes.

     10          Q     -- if they were installed?        Okay.    Are you

     11    generally aware of the process of how wooden poles are

     12    installed on site for transmission lines in general?

     13          A     Yes.

     14          Q     Okay.    Is it your understanding that holes

     15    are made in the ground where the wood poles are to go

     16    in; correct?

     17          A     Yes.

     18          Q     And are you aware that after the wooden pole

     19    is placed in the excavated hole, that crushed rock is

     20    to be used as backfill for structural support?

     21          A     Yes.

     22          Q     Okay.    Do you know if crushed rock would

     23    have came off-site to be used for structural support

     24    for the wooden pole transmission lines for the Osage

     25    Wind project?
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      1          A     I don't recall.

      2          Q     Okay.    You would have expected -- would you

      3    have expected that excavated material would have been

      4    used for structural support for the wooden poles?

      5          A     I don't recall.

      6          Q     You had no expectations?

      7          A     The expectation is they would have likely

      8    used the quarry.

      9          Q     Used the quarry?

     10          A     Correct.

     11          Q     What do you mean by that?

     12          A     There was two quarries close to the project

     13    where material was purchased.

     14          Q     I believe earlier you testified that you

     15    were aware that in relations to excavation areas, that

     16    only sand was brought in off property to be used as

     17    backfill; is that correct?

     18          A     Yeah.    The expectation was.

     19          Q     Okay.    So your expectation would be that for

     20    these wooden poles, you would have expected that the

     21    backfill to be used would have been -- would have came

     22    from one of the two quarries?

     23          A     I'm going to stick with I don't recall.           You

     24    would have to check with --

     25          Q     Okay.    Who would I need to speak with that
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      1    privy to any conversations regarding any theory set

      2    forth by the Osage Nation regarding any issues?

      3           A      Not that I can --

      4                  (Speaking simultaneously.)

      5           Q      Sorry.    None that you can what?

      6           A      None that I can recall.

      7           Q      Okay.    After material is excavated --

      8    scratch that.

      9                  It's your understanding, sir, that all of

     10    the excavated material that was used as backfill was

     11    used for the purpose of structural support for the

     12    wind towers; is that correct?

     13           A      Correct.

     14                  MS. STEVENSON:    Object to form.

     15           Q       (BY MR. ASHWORTH) I'm going to introduce

     16    an exhibit that I'm going to mark as Exhibit

     17    Number 50, which is going to be a purchase order to

     18    APAC.      Have you seen this document before, Craig?

     19           A      Seems familiar.

     20           Q      Okay.    It appears to me to be a materials

     21    purchase order to APAC - Central, Inc., billed to IEA.

     22    And it's for one-and-one-half-inch aggregate, and it's

     23    dated September 16th, 2014.        Do you know what this

     24    would have been for -- the aggregate was to be used

     25    for?
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      1          A     Specifically, no.

      2          Q     Okay.

      3          A     I think it would be safe to assume it would

      4    be for roads and crane pads.

      5          Q     How -- when would the roads and crane pads

      6    have been constructed in relations to when excavation

      7    would have taken place?

      8          A     I would have to refer to the schedule.

      9          Q     If -- would those have been -- would the

     10    roads and crane pads have been one of the first

     11    projects, first items to have been completed for a

     12    particular project?

     13          A     That's not always the case.

     14          Q     Okay.    Do you know about -- for the Osage

     15    Wind project, do you know if the roads and crane pads

     16    were done first before construction -- I'm sorry --

     17    before the excavation work?

     18          A     You can't do --

     19                (Speaking simultaneously.)

     20                MR. RODABAUGH:      Object to the form.

     21          Q      (BY MR. ASHWORTH) I'm sorry.         Can you

     22    repeat that?

     23          A     You can't do a crane pad before your

     24    excavation.

     25          Q     Right.    What about the roads?
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      1         A      I don't remember.

      2         Q      Do you know why one-and-one-half inch

      3   aggregate, that particular size was used or was

      4   ordered?

      5         A      You would have to refer to the drawings.

      6         Q      Okay.   Based on your testimony today, you

      7   don't know why that particular size was ordered; is

      8   that correct?

      9         A      Correct.

    10          Q      Okay.   Who is APAC - Central, Inc.?         Do you

    11    know who they are?

    12          A      They own a quarry down the road.

    13          Q      Do you know why APAC - Central was chosen

    14    for the aggregate purchase?

    15          A      I don't remember.

    16          Q      Do you know if there was any quarry or

    17    aggregate seller that was closer than APAC?

    18          A      Yes.

    19          Q      And what quarry was that?

    20          A      I don't remember the name of it.         I think --

    21          Q      Okay.

    22          A      -- it might have been Burbank Materials or

    23    something like that.

    24          Q      How much closer would Burbank Materials have

    25    been versus APAC?
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      1         A      A few miles.

      2         Q      Okay.    And do you know why -- I'm sorry.

      3         A      Sorry.

      4         Q      And it's your testimony that you don't know

      5   why Burbank was chosen for this purchase even though

      6   it was closer to the project?

      7         A      I don't remember.

      8         Q      I'm going to pull up another purchase

      9   orders.    And it's from Burbank Materials.          And I'm

    10    going to mark it as Exhibit 51.          This one is dated in

    11    the right-hand corner as November 19th, 2013.             It's to

    12    Burbank Materials from RMT, Inc.

    13                 And it appears to be for -- I would assume

    14    that's "AG base."       Do you know if that's aggregate

    15    base?

    16          A      I don't remember.      That's probably safe to

    17    assume.

    18          Q      Okay.    Under that's "blue shale."       And then

    19    we have "crusher run, red clay, sandy loam, select

    20    fill and surge rock."        Do you know what these

    21    materials were ordered for in 2013?

    22          A      No.    Because this is the year before; right?

    23          Q      Yes.    This is 2013 with an expected date

    24    of -- seems to be expected date is the same as

    25    November 19, 2013.
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      1                THE WITNESS:     I would assume so.

      2         Q       (BY MS. NAGLE) Was that your

      3   understanding at the time?

      4         A      I don't remember.

      5         Q      Do you recall any other communications that

      6   you or anyone else at IEA may have sent to Enel or EGP

      7   NA to communicate this increase in costs related to

      8   having to import materials off-site?

      9         A      I don't recall.

    10          Q      Okay.   All right.     Do you recall how this

    11    issue resolved itself?        Ultimately did IEA resort to

    12    obtaining the rest of the materials off-site?

    13          A      I don't believe so.      I believe we balanced

    14    it at the turbine location and then, you know, we used

    15    the quarries for roads and crane pads.

    16          Q      Uh-huh.    Do you know who at Enel or EGP NA

    17    made the determination that you would continue using

    18    the on-site materials?

    19                 MS. STEVENSON:     Object to form.

    20                 THE WITNESS:     I don't recall.

    21          Q       (BY MS. NAGLE) Let's -- I'm going to

    22    actually pull up another document really quick that

    23    we will look at.       So -- I think you have a fierce

    24    defender there with you.

    25          A      She just walked in the door so...
